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                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF GEORGIA


SECURITIES AND EXCHANGE
COMMISSION,

                             Plaintiff,

                      v.                           C.A. No.    -

MEDIENT STUDIOS,INC.,FONU2,
INC., MANU KUMARAN,JOEL A.
"JAKE" SHAPIRO,and ROGER
MIGUEL,

                             Defendants.


CONSENT OF DEFENDANT FONU2,INC. TO ORDER OF PERMANENT
                     INJUNCTION

      1.     Defendant Fonu2,Inc.("Defendant") waives service of a summons

and the complaint in this action, enters a general appearance, and admits the

Court's jurisdiction over Defendant and over the subject matter ofthis action.

      2.     Without admitting or denying the allegations of the complaint(except

as provided herein in paragraph 12 and except as to personal and subject matter

jurisdiction, which Defendant admits), Defendant hereby consents to the entry of

the Order of Permanent Injunction as to Defendant Fonu2,Inc. in the form attached

hereto (the "Order") and incorporated by reference herein, which, among other

things:
     Case 4:16-cv-00253-WTM-GRS Document 12 Filed 11/30/16 Page 2 of 19




            (a)permanently restrains and enjoins Defendant from violations of

                Section 10(b) ofthe Securities Exchange Act of 1934("Exchange

                Act")[15 U.S.C. § 78j(b)] and Rule lOb-5 thereunder [17 C.F.R. §

               ?40.1 Ob-5], and Sections 5 and 17(a) ofthe Securities Act of 1933

               ("Securities Act")[15 U.S.C. §§ 77e and 77q(a)];

            (b)orders Defendant to pay disgorgement in an amount to be

                determined by the Court; and

            (c)orders Defendant to pay a civil penalty in an amount to be

                determined by the Court under Section 21(d)(3) of the Exchange

                Act[15 U.S.C. § 78u(d)(3)] and Section 20(d)ofthe Securities Act

               [15 U.S.C. § 77t(d)].

      3.     Defendant agrees that the Court shall order disgorgement of ill-gotten

gains, prejudgment interest thereon, and a civil penalty pursuant to Section 20(d)

of the Securities Act[15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange

Act [15 U.S.C. § 78u(d)(3)]. Defendant further agrees that the amounts of the

disgorgement and civil penalty shall be determined by the Court upon motion of

the Commission, and that prejudgment interest shall be calculated from August 13,

2015, based on the rate of interest used by the Internal Revenue Service for the

underpayment of federal income tax as set forth in 26 U.S.C. § 6621(a)(2).

Defendant further agrees that in connection with the Commission's motion for



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disgorgement andlor civil penalties, and at any hearing held on such a motion:(a)

Defendant will be precluded from arguing that it did not violate the federal

securities laws as alleged in the complaint;(b)Defendant may not challenge the

validity of this Consent or the Order;(c) solely for the purposes of such motion,

the allegations ofthe complaint shall be accepted as and deemed true by the Court;

and (d)the Court may determine the issues raised in the motion on the basis of

affidavits, declarations, excerpts of sworn deposition or investigative testimony,

and documentary evidence, without regard to the standards for summary judgment

contained in Rule 56(c) ofthe Federal Rules of Civil Procedure.

      4.     Defendant agrees that it shall not seek or accept, directly or indirectly,

reimbursement or indemnification from any source, including but not limited to

payment made pursuant to any insurance policy, with regard to any civil penalty

amounts that Defendant pays pursuant to the Order or any other judgment, order,

consent order, decree or settlement agreement entered in connection with this

proceeding, regardless of whether such penalty amounts or any part thereof are

added to a distribution fund or otherwise used for the benefit of investors.

Defendant further agrees that it shall not claim, assert, or apply for a tax deduction

or tax credit with regard to any federal, state, or local tax for any penalty amounts

that Defendant pays pursuant to the Order or any other judgment, order, consent

order, decree or settlement agreement entered in connection with this proceeding,
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regardless of whether such penalty amounts or any part thereof are added to a

distribution fund or otherwise used for the benefit of investors.

      5.     Defendant waives the entry offindings offact and conclusions of law

pursuant to Rule 52 ofthe Federal Rules of Civil Procedure.

      6.     Defendant waives the right, if any, to a jury trial and to appeal from

the entry ofthe Order.

      7.     Defendant enters into this Consent voluntarily and represents that no

threats, offers, promises, or inducements of any kind have been made by the

Commission or any member, officer, employee, agent, or representative of the

Commission to induce Defendant to enter into this Consent.

      8.     Defendant agrees that this Consent shall be incorporated into the

Order with the same force and effect as if fully set forth therein.

      9.     Defendant will not oppose the enforcement of the Order on the

ground, if any exists, that it fails to comply with Rule 65(d) of the Federal Rules of

Civil Procedure, and hereby waives any objection based thereon.

       10.   Defendant waives service ofthe Order and agrees that entry of the

Order by the Court and filing with the Clerk ofthe Court will constitute notice to

Defendant of its terms and conditions. Defendant further agrees to provide counsel

for the Commission, within thirty days after the Order is filed with the Clerk ofthe




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Court, with an affidavit or declaration stating that Defendant has received and read

a copy ofthe Order.

      11.    Consistent with 17 C.F.R. § 202.50, this Consent resolves only the

claims asserted against Defendant in this civil proceeding. Defendant

acknowledges that no promise or representation has been made by the Commission

or any member, officer, employee, agent, or representative ofthe Commission with

regard to any criminal liability that may have arisen or may arise from the facts

underlying this action or immunity from any such criminal liability. Defendant

waives any claim of Double Jeopardy based upon the settlement ofthis proceeding,

including the imposition of any remedy or civil penalty herein. Defendant further

acknowledges that the Court's entry of a permanent injunction may have collateral

consequences under federal or state law and the rules and regulations of self-

regulatory organizations, licensing boards, and other regulatory organizations.

Such collateral consequences include, but are not li~-nited to, a statutory

disqualification with respect to membership or- participation in, or- association with

a member of, aself-regulatory organization. This statutory disqualification has

consequences that are separate from any sanction imposed in an administrative

proceeding. In addition, in any disciplinary proceeding before the Commission

based on the entry ofthe injunction in this action, Defendant understands that it




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shall not be permitted to contest the factual allegations of the complaint in this

action.

      12.    Defendant understands and agrees to comply with the terms of 17

C.F.R. § 202.5(e), which provides in part that it is the Commission's policy "not to

permit a defendant or respondent to consent to a judgment or order that imposes a

sanction while denying the allegations in the complaint or order for proceedings,"

and "a refusal to admit the allegations is equivalent to a denial, unless the

defendant or respondent states that he neither admits nor denies the allegations."

As part of Defendant's agreement to comply with the terms of Section 202.5(e),

Defendant:(i) will not take any action or make or permit to be made any public

statement denying, directly or indirectly, any allegation in the complaint or

creating the impression that the complaint is without factual basis;(ii) will not

make or permit to be made any public statement to the effect that Defendant does

not admit the allegations ofthe complaint, or that this Consent contains no

admission ofthe allegations, without also stating that Defendant does not deny the

allegations; and (iii) upon the filing of this Consent, Defendant hereby withdl-aws

any papers filed in this action to the extent that they deny any allegation in the

complaint. If Defendant breaches this agreement, the Commission may petition

the Court to vacate the Order and restore this action to its active docket. Nothing

in this paragraph affects Defendant's:(i) testimonial obligations; or (ii) right to



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     Case 4:16-cv-00253-WTM-GRS Document 12 Filed 11/30/16 Page 7 of 19




take legal or factual positions in litigation or other legal proceedings in which the

Commission is not a party.

      13.    Defendant hereby waives any rights under the Equal Access to Justice

Act, the Small Business Regulatory Enforcement Fairness Act of 1996, or any

other provision of law to seek from the United States, or any agency, or any

official ofthe United States acting in his or her official capacity, directly or

indirectly, reimbursement of attorney's fees or other fees, expenses, or costs

expended by Defendant to defend against this action. For these purposes,

Defendant agrees that Defendant is not the prevailing party in this action since the

parties have reached a good faith settlement.

       14.   Defendant agrees that the Commission may present the Order to the

Court for signature and entry without further notice.




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      15.   Defendant agrees that this Court shall retain jurisdiction over this

matter for the purpose of enforcing the terms of the Order.

Dated: /~ ~<ar~ 3, 2 n ~~             Fonu2, Inc.




                                      Title: (_E(7

                                       Address: 3o~j E. i"~ai h .~~tt~~ UK i
                                                 ~ro~~►~ C;~y ,Ga 3i von

      On .     ~ -t- 3 --___, 201(0, ~,paer /-l;gke.l                 ,a person
known  to me, personally appeared   before me and acknowledged   executing   the
foregoing Consent with full authority to do so on behalf of Fonu2, Inc., as its
    CL~



                                       Notary u lic
                                       Commis ion expires: ~C~~t~ Z ~ 20~ g
Approved as to form:

                                                      .~""""~•
                                                     ~`~9;~'~F.Oe~i   JENNIFER C WEST
                                                                    Notary Public, Georgia
Gerald L. Baxter•, Esq.                              *'"-°="i°`'•"s    Chatham County
                                                    :~ :•ue~~~i; My
                                                                      Commission Expires
Greenberg Traurig, LLC                               °° ~~~~~~'~~,    October 21, 2019
Terminus 200
3333 Piedmont Road NE, Suite 2500
Atlanta, Georgia 30305
Attorney for Defendant
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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA


SECURITIES AND EXCHANGE
COMMISSION,

                             Plaintiff,

                      v.                           C.A. No.

MEDIENT STUDIOS,INC.,FONU2,
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MIGUEL,

                             Defendants.


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things:
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            (a)permanently restrains and enjoins Defendant from violations of

                Section 10(b)ofthe Securities Exchange Act of 1934("Exchange

                Act")[15 U.S.C. § 78j(b)] and Rule lOb-5 thereunder [17 C.F.R. §

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               ("Securities Act")[15 U.S.C. §§ 77e and 77q(a)];

            (b)orders Defendant to pay disgorgement in an amoLu~t to be

                determined by the Court; and

            (c)orders Defendant to pay a civil penalty in an amount to be

                determined by the Court under Section 21(d)(3) ofthe Exchange

                Act[15 U.S.C. § 78u(d)(3)] and Section 20(d) of the Securities Act

                [15 U.S.C. § 77t(d)].

      3.     Defendant agrees that the Court shall order disgorgement of ill-gotten

gains, prejudgment interest thereon, and a civil penalty pursuant to Section 20(d)

of the Securities Act[15 U.S.C. § 77t(d)] and Section 21(d)(3) ofthe Exchange

Act [15 U.S.C. § 78u(d)(3)]. Defendant further agrees that the amounts of the

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the Commission, and that prejudgment interest shall be calculated from August 13,

2015, based on the rate of interest used by the Internal Revenue Service for the

underpayment of federal income tax as set forth in 26 U.S.C. § 6621(a)(2).

Defendant further agrees that in connection with the Commission's motion for



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disgorgement and/or civil penalties, and at any hearing held on such a motion:(a)

Defendant will be precluded from arguing that it did not violate the federal

securities laws as alleged in the complaint;(b)Defendant may not challenge the

validity ofthis Consent or the Order;(c)solely for the purposes of such motion,

the allegations ofthe complaint shall be accepted as and deemed true by the Court;

and (d)the Court may determine the issues raised in the motion on the basis of

affidavits, declarations, excerpts ofsworn deposition or investigative testimony,

and documentary evidence, without regard to the standards for summary judgment

contained in Rule 56(c)ofthe Federal Rules of Civil Procedure.

      4.     Defendant agrees that it shall not seek or accept, directly or indirectly,

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amounts that Defendant pays pursuant to the Order or any other judgment, order,

consent order, decree or settlement agreement entered in connection with this

proceeding, regardless of whether such penalty amounts or any part thereof are

added to a distribution fund or otherwise used for the benefit of investors.

Defendant further agrees that it shall not claim, assert, or apply for a tax deduction

or tax credit with regard to any federal, state, or local tax for any penalty amounts

that Defendant pays pursuant to the Order or any other judgment, order, consent

order, decree or settlement agreement entered in connection with this proceeding,


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regardless of whether such penalty amounts or any part thereof are added to a

distribution fund or otherwise used for the benefit of investors.

      5.     Defendant waives the entry offindings of fact and conclusions oflaw

pursuant to Rule 52 of the Federal Rules of Civil Procedure.

      6.     Defendant waives the right, if any, to a jury trial and to appeal from

the entry of the Order.

      7.     Defendant enters into this Consent voluntarily and represents that no

threats, offers, promises, or inducements of any kind have been made by the

Commission or any member, officer, employee, agent, or representative of the

Commission to induce Defendant to enter into this Consent.

      8.     Defendant agrees that this Consent shall be incorporated into the

Order with the same force and effect as if fully set forth therein.

      9.     Defendant will riot oppose the enforcement of the Order on the

ground, if any exists, that it fails to comply with Rule 65(d) ofthe Federal Rules of

Civil Procedure, and hereby waives any objection based thereon.

       10.   Defendant waives service ofthe Order and agrees that entry of the

Order by the Court and filing with the Clerk ofthe Court will constitute notice to

Defendant of its terms and conditions. Defendant further agrees to provide counsel

for the Commission, within thirty days after the Order is filed with the Clerk ofthe
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Court, with an affidavit or declaration stating that Defendant has received and read

a copy ofthe Order.

      11.    Consistent with 17 C.F.R. § 202.50,this Consent resolves only the

claims asserted against Defendant in this civil proceeding. Defendant

acknowledges that no promise or representation has been made by the Commission

or any member, officer, employee, agent, or representative of the Commission with

regard to any criminal liability that may have arisen or may arise from the facts

underlying this action or immunity from any such criminal liability. Defendant

waives any claim of Double Jeopardy based upon the settlement ofthis proceeding,

including the imposition of any remedy or civil penalty herein. Defendant further

acknowledges that the Court's entry of a permanent injunction may have collateral

consequences under federal or state law and the rules and regulations of self-

regulatory organizations, licensing boards, and other regulatory organizations.

Such collateral consequences include, but are not limited to, a statutory

disqualification with respect to membership or participation in, or association with

a member of, aself-regulatory organization. This statutory disqualification has

consequences that are separate from any sanction imposed in an administrative

proceeding. In addition, in any disciplinary proceeding before the Commission

based on the entry ofthe injunction in this action, Defendant understands that it
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shall not be permitted to contest the factual allegations ofthe complaint in this

action.

      12.    Defendant understands and agrees to comply with the terms of 17

C.F.R. § 202.5(e), which provides in part that it is the Commission's policy "not to

permit a defendant or respondent to consent to a judgment or order that imposes a

sanction while denying the allegations in the complaint or order for proceedings,"

and "a refusal to admit the allegations is equivalent to a denial, unless the

defendant or respondent states that he neither admits nor denies the allegations."

As part of Defendant's agreement to comply with the terms of Section 202.5(e),

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statement denying, directly or indirectly, any allegation in the complaint or

creating the impression that the complaint is without factual basis;(ii) will not

make or- permit to be made any public statement to the effect that Defendant does

not admit the allegations of the complaint, or that this Consent contains no

admission ofthe allegations, without also stating that Defendant does not deny the

allegations; and (iii) upon the filing ofthis Consent, Defendant hereby withdraws

any papers filed in this action to the extent that they deny any allegation in the

complaint. If Defendant breaches this agreement, the Commission may petition

the Court to vacate the Order and restore this action to its active docket. Nothing

in this paragraph affects Defendant's:(i)testimonial obligations; or (ii) right to
     Case 4:16-cv-00253-WTM-GRS Document 12 Filed 11/30/16 Page 15 of 19




take legal or factual positions in litigation or other legal proceedings in which the

Commission is not a party.

       13.   Defendant hereby waives any rights under the Equal Access to Justice

Act, the Small Business Regulatory Enforcement Fairness Act of 1996, or any

other provision of law to seek from the United States, or any agency, or any

official of the United States acting in his or her official capacity, directly or

indirectly, reimbursement of attorney's fees or other fees, expenses, or costs

expended by Defendant to defend against this action. For these purposes,

Defendant agrees that Defendant is not the prevailing party in this action since the

parties have reached a good faith settlement.

       14.   Defendant agrees that the Commission may present the Order to the

Court for signature and entry without further notice.




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      15,    Defendant agrees that this Court shall retain jurisdiction over this

matter foi• the purpose of enforcing the terms of the Order.

Dated: A4~gs~        3. 24)`           Fonu2, Inc.
     ~~
                                       By:_1~~-/~~~
                                       Title: CEd

                                       Address: ~o~ E. /yle;h Sf.. fjh;f 13
                                                         ,~y ~ Gf~ 3 ~ `Ids
                                               ~rG~der~ C'

       On /qua,uS~1 3 ---, 20 t~,        ~}"~,oczer /"`i(xue ~          , a person
known to me, pez•sonally appeared before me and acknowledged executing the
fot•egoing Consent with fiill authority to do so on behalf of Fonu2, Inc., as its
    DLO

                                                                          ~~
                                        Notary P 'c
                                        Commission expires: Dc~lo~ r Z I         'ZO]rj'
Approved as to form:

   f~~ ~z~~ ~~~--                                    ;~`~,"'~,,     JENNIFER C WEST
                                                       ~~~~~;. Notary Public, Georgia
                                                  '~:" - ••"s       Chatham County
Gerald L. Baxter, Esq.                            ' Q:;";;`.•* ~ My Commission Expires
Greenberg Traurig, LLC                               '~:°„~;•~~'~   October 21., 2019
Tei-~ninus 200
3333 Piedmont Road NE, Suite 2500
Atlanta, Georgia 30305
Attorney for Defendant




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                                   FONU2,INC.
                                 CERTIFICATE OF
                              CORPORATE RESOLUTION

 I, ~~S~e./- /~ 1 QG~ / ,do hereby certify that I am an elected and qualified
 Officer and Director of Fonu2,Ina ("Fonu2" or "Corporation"), a Nevada corporation,
 and that the following is a complete and accurate copy of a resolution adopted by the
 Board of Directors of Fonu2 at a meeting held on                3 ,2016, at which a
 quorum was preset and resolved as follows:

 RESOLVED: That                          t~ a ~ , an Officer and Director of this
 Cot oration, be and her y is authorized to act on behalf of the Corporation, and in his
 sole discretion, to negotiate, approve, and execute the Consent, with the attached Order of
 Pei7nanent Injunction, of Fonu2, attached hereto, with the United States Securities and
 Exchange Commission ("Commission")in connection with the investigation conducted
 by the Commission; in this connection, the aforementioned Officer and Director be a~~d
 hereby is authorized to undertake such actions as he may deem necessary and advisable,
 including the execution of such documentation as may be required by the Commission,in
 order to carry out the foregoing.

 I fiu~ther certify that the aforesaid resolution has not been amended or revoked in any
 respect and remains in full force and effect.

 IN WITNESS WHEREOF,I have executed this Certificate as a sealed instrument this
  3~ o~day of            ,2016.

                                               By:      _~             -        '
                                               Title:       ~~ D _           - --      - --

                                               Of:      Fonu2,Inc.

         I declare under penalty of perjury under the laws ofthe United States of America
 that the foregoing is tn~e and correct.

 Executed on        G~        3 ,2016.


                                                        ~~~`~
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                      CERTIFICATION AS TO COMPLETENESS
                          OF DOCUMENT PRODUCTION

              ~~OS'e/~ ~/ S'(.~ C ~                   [name of signatory], the

     G EQ                         [title] of Fonu2,Inc.(the "Recipient"), hereby certifies as

 follows:

         1.      The Recipient hereby acluiowledges uld agrees that in settling

 enforcement action against the Recipient the Commission has relied upon the

 completeness of, among other things, the Recipient's production of documents in

 response to all Commission subpoenas, document requests, and requests for voltultary

 production of documents to the Recipient in connection with this matter, subject to any

 nzoditications agreed to in writing by Commission staff("the Commission's Document

 Demands").

         2.      I have made diligent inquiry of and requested production fionl all of the

 Recipient's officers, directors, employees, and agents reasonably likely to have

 possession of documents z•esponsive to the Commission's Document Demands. In

 addition, a diligent search has been made of all other files in Recipient's possession,

 custody, or control that are reasonably likely to contain responsive documents, including

  but not limited to general file areas, off-site document files, e-mail and archive files, and

  all other original and back-up electronic and computer files and systems.

         3.      To the best of my knowledge, all responsive documents in the possession,

  custody, or control of the Recipient and its officers, directors, employees, and agents

  have been produced to the Commission or identified in a privilege log submitted to the

  Commission. The Recipient has a good faith basis to believe that a bona fide privilege,
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 recognized under applicable law, applies to each responsive document identified on a

 privilege log and not produced to the Commission.


        I declare under penalty of perjury that the foregoing is true and correct.

 Executed on ~!~ G       3,20 ~ G .
                                                              Fonu2, Inc.

                                               By:                  rI
                                               Title:    C'E d

                                               Address: 3d~j E, /✓lash S~~''ce~'. ~h;~ p



                                               Telephone Numbei•:~~a 5)_~'aL ^6)S~




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